                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 LUIS MORENO, individually and on behalf of
 similarly situated persons,

                      Plaintiff,
                                                         Case No. _________
         v.
                                                         Jury Demanded
 PRAIRIE PIZZA, INC.
 d/b/a “Domino’s”,

                      Defendants.



               COMPLAINT FOR VIOLATION OF THE FAIR LABOR
           STANDARDS ACT & NORTH CAROLINA MINIMUM WAGE LAW

   Plaintiff Luis Moreno (“Plaintiff”), individually and on behalf of all other similarly situated

delivery drivers, brings this Complaint against Defendant Prairie Pizza, Inc. d/b/a Domino’s

(“Defendant”), alleges as follows:

   1. Defendant operates numerous Domino’s Pizza franchise stores including in and around the

Charlotte, North Carolina area. Defendant employs delivery drivers who use their own

automobiles to deliver pizza and other food items to its customers. However, instead of

reimbursing delivery drivers for the reasonably approximate costs of the business use of their

vehicles, Defendant uses a flawed method to determine reimbursement rates that provides such an

unreasonably low rate beneath any reasonable approximation of the expenses they incur that the

drivers’ unreimbursed expenses cause their wages to fall below the federal minimum wage during

some or all workweeks.

   2. Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq., and class action under and under the North Carolina Wage and
Hour Act (“NCWHA”), N.C. Gen. Stat. §§ 95-25.1, et seq., to recover unpaid minimum wages

owed to himself and similarly situated delivery drivers employed by Defendant at its Domino’s

stores.

                                     Jurisdiction and Venue

    3. The FLSA authorizes court actions by private parties to recover damages for violation of

its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. §

216(b) and 28 U.S.C. § 1331 (federal question).

    4. Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in this

District, Defendant employed Plaintiff in this District, Defendant operates Domino’s franchise

stores in this District, and a substantial part of the events giving rise to the claim herein occurred

in this District.

                                               Parties

    5. Defendant is a North Carolina corporation maintaining its principal place of business in

this District and may be served via its registered agent George “Mack” Patterson, who may be

served at 9107-F S Tyron St., Charlotte, NC 28273-3125 or wherever he may be found.

    6. Plaintiff has been employed by Defendant most recently from 2012 to the present as a

delivery driver at several of Defendant’s Domino’s stores located in Charlotte, North Carolina and

within this District. Plaintiff’s consent to pursue this claim under the FLSA is attached to this

Original Complaint as “Exhibit 1.”

                                       General Allegations

Defendant’s Business

    7. Defendant owns and operates numerous Domino’s franchise stores including stores within

this District and this Division.




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   8. Defendant’s Domino’s stores employ delivery drivers who all have the same primary job

duty: to deliver pizzas and other food items to customers’ homes or workplaces.

Defendant’s Flawed Automobile Reimbursement Policy

   9. Defendant requires its delivery drivers to maintain and pay for safe, legally-operable, and

insured automobiles when delivering pizza and other food items.

   10. Defendant’s delivery drivers incur costs for gasoline, vehicle parts and fluids, repair and

maintenance services, insurance, depreciation, and other expenses (“automobile expenses”) while

delivering pizza and other food items for the primary benefit of Defendant.

   11. Defendant’s delivery driver reimbursement policy reimburses drivers on a per-delivery

basis, but the per-delivery reimbursement equates to below the IRS business mileage

reimbursement rate or any other reasonable approximation of the cost to own and operate a motor

vehicle. This policy applies to all of Defendant’s delivery drivers.

   12. The result of Defendant’s delivery driver reimbursement policy is a reimbursement of

much less than a reasonable approximation of its drivers’ automobile expenses.

   13. During the applicable FLSA limitations period, the IRS business mileage reimbursement

rate ranged between $.535 and $.575 per mile. Likewise, reputable companies that study the cost

of owning and operating a motor vehicle and/or reasonable reimbursement rates, including the

AAA, have determined that the average cost of owning and operating a vehicle ranged between

$.571 and $.608 per mile during the same period for drivers who drive 15,000 miles per year.

These figures represent a reasonable approximation of the average cost of owning and operating a

vehicle for use in delivering pizzas.

   14. However, the driving conditions associated with the pizza delivery business cause even

more frequent maintenance costs, higher costs due to repairs associated with driving, and more




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rapid depreciation from driving as much as, and in the manner of, a delivery driver. Defendant’s

delivery drivers further experience lower gas mileage and higher repair costs than the average

driver used to determine the average cost of owning and operating a vehicle described above due

to the nature of the delivery business, including frequent starting and stopping of the engine,

frequent braking, short routes as opposed to highway driving, and driving under time pressures.

   15. Defendant’s reimbursement policy does not reimburse delivery drivers for even their

ongoing out-of-pocket expenses, much less other costs they incur to own and operate their vehicle,

and thus Defendant uniformly fails to reimburse its delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendant’s benefit.

   16. Defendant’s systematic failure to adequately reimburse automobile expenses constitutes a

“kickback” to Defendant such that the hourly wages it pays to Plaintiff and Defendant’s other

delivery drivers are not paid free and clear of all outstanding obligations to Defendant.

   17. Defendant fails to reasonably approximate the amount of its drivers’ automobile expenses

to such an extent that its drivers’ net wages are diminished beneath the federal minimum wage

requirements.

   18. In sum, Defendant’s reimbursement policy and methodology fail to reflect the realities of

delivery drivers’ automobile expenses.

Defendant’s Failure to Reasonably Reimburse Automobile Expenses Causes Minimum Wage
Violations

   19. Regardless of the precise amount of the per-delivery reimbursement at any given point in

time, Defendant’s reimbursement formula has resulted in an unreasonable underestimation of

delivery drivers’ automobile expenses throughout the recovery period, causing systematic

violations of the federal minimum wage.




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   20. Plaintiff has been paid as low as $4.50 per hour during his employment with Defendant,

including a tip credit applicable to the time he performed deliveries.

   21. The federal minimum wage has been $7.25 per hour since July 24, 2009.

   22. During the time Plaintiff has worked for Defendant as a delivery driver, he has been

reimbursed as low as $.21 per mile

   24. During the relevant time period, the IRS business mileage reimbursement rate ranged

between $.56 and $.535 per mile, which reasonably approximated the automobile expenses

incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Using

the lowest IRS rate in effect during that period as a reasonable approximation of Plaintiff’s

automobile expenses, every mile driven on the job decreased his net wages by at least $.325 ($.535

- $.21) per mile.

   25. During his employment by Defendant, Plaintiff regularly made 3 or more deliveries per

hour. These deliveries often ranged from 4-6 miles round trip. Thus using even a conservative

under-estimate of Plaintiff’s actual expenses and damages, every hour on the job decreased

Plaintiff’s net wages by at least $3.90 ($.325/mile x 3 deliveries/hour x 4 miles/delivery).

   26. All of Defendant’s delivery drivers had similar experiences to those of Plaintiff. They were

subject to the same reimbursement policy; received similar reimbursements; incurred similar

automobile expenses; completed deliveries of similar distances and at similar frequencies; and

were paid at or near the federal minimum wage before deducting unreimbursed business expenses.

   27. Because Defendant paid its drivers a gross hourly wage at precisely, or at least very close

to, the federal minimum wage, and because the delivery drivers incurred unreimbursed automobile

expenses, the delivery drivers “kicked back” to Defendant an amount sufficient to cause minimum

wage violations.




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   28. While the amount of Defendant’s actual reimbursements per delivery may vary over time,

Defendant is relying on the same flawed policy and methodology with respect to all delivery

drivers at all of its other Domino’s stores. Thus, although reimbursement amounts may differ

somewhat by time or region, the amounts of under-reimbursements relative to automobile costs

incurred are relatively consistent between time and region.

   29. Defendant’s low reimbursement rates were a frequent complaint of at least some of

Defendant’s delivery drivers, which resulted in a previous lawsuit complaining of the same

violations herein, yet Defendant continued to reimburse at a rate much less than any reasonable

approximation of delivery drivers’ automobile expenses.

   30. The net effect of Defendant’s flawed reimbursement policy is that it willfully fails to pay

the federal minimum wage to its delivery drivers. Defendant thereby enjoys ill-gained profits at

the expense of its employees.

                                Class and Collective Action Allegations

   31. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).

   32. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29 U.S.C.

§ 216(b).

   33. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief on

a collective basis challenging Defendant’s practice of failing to pay employees federal minimum

wage. The number and identity of other plaintiffs yet to opt-in may be ascertained from

Defendant’s records, and potential class members may be notified of the pendency of this action

via mail and electronic means.

   34. Plaintiff and all of Defendant’s delivery drivers are similarly situated in that:




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   a.      They have worked as delivery drivers for Defendant delivering pizza and other food

           items to Defendant’s customers;

   b.      They have delivered pizza and food items using automobiles not owned or

           maintained by Defendant;

   c.      Defendant required them to maintain these automobiles in a safe, legally-operable,

           and insured condition;

   d.      They incurred costs for automobile expenses while delivering pizzas and food items

           for the primary benefit of Defendant;

   e.      They were subject to similar driving conditions, automobile expenses, delivery

           distances, and delivery frequencies;

   f.      They were subject to the same pay policies and practices of Defendant;

   g.      They were subject to the same delivery driver reimbursement policy that under-

           estimates automobile expenses per mile, and thereby systematically deprived of

           reasonably approximate reimbursements, resulting in wages below the federal

           minimum wage in some or all workweeks;

   h.      They were reimbursed similar set amounts of automobile expenses per delivery;

           and,

   i.      They were paid at or near the federal minimum wage before deducting

           unreimbursed business expenses.

35. Plaintiff brings Count II as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

himself and as the Class Representatives of the following persons (the “Class”):

               All current and former delivery drivers employed by Defendant
               since the date two years preceding the filing of this Complaint.




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   36. The state law claims, if certified for class-wide treatment, are brought on behalf of all

similarly situated persons who do not opt-out of the Class.

   37. The Class satisfies the numerosity standard as it consists of hundreds of persons who are

geographically dispersed and, therefore, joinder of all Class members in a single action is

impracticable.

   38. Questions of fact and law common to the Class predominate over any questions affecting

only individual members. The questions of law and fact common to the Class arising from

Defendant’s actions include, without limitation:

       a. Whether Defendant failed to pay Class members the minimum wage required by North

       Carolina law,

       b. Whether Defendant failed to reasonably reimburse Class members for using their own

       vehicles to deliver Defendant’s pizzas and other food items,

       c. Whether Defendant’s formula and / or methodology used to calculate the payment of

       reimbursement for vehicle expenses resulted in unreasonable under reimbursement of the

       Class members,

       d. Whether Defendant failed to keep accurate records of deductions from Class members’

       wages in violation of North Carolina law, and

       e. Whether Defendants failed to reimburse Plaintiff and the Putative Plaintiffs for “other

       amounts promised” pursuant to its company handbook, and thus required by the NCWHA.

39. The questions set forth above predominate over any questions affecting only individual

persons, and a class action is superior with respect to considerations of consistency, economy,

efficiency, fairness, and equity to other available methods for the fair and efficient adjudication of

the state law claims.




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   40. Plaintiff’s claim is typical of those of the Class in that:

       a. Plaintiff and the Class have worked as delivery drivers for Defendant delivering pizza

       and other food items to Defendant’s customers;

       b. Plaintiff and the Class delivered pizza and food items using automobiles not owned or

       maintained by Defendant;

       c. Defendant required Plaintiff and the Class to maintain these automobiles in a safe,

       legally-operable, and insured condition;

       d. Plaintiff and the Class incurred costs for automobile expenses while delivering pizzas

       and food items for the primary benefit of Defendant;

       e. Plaintiff and the Class were subject to similar driving conditions, automobile expenses,

       delivery distances, and delivery frequencies;

       f. Plaintiff and the Class were subject to the same pay policies and practices of

       Defendant;

       g. Plaintiff and the Class were subject to the same delivery driver reimbursement policy

       that underestimates automobile expenses per mile, and thereby systematically deprived of

       reasonably approximate reimbursements, resulting in wages below the federal minimum

       wage in some or all workweeks;

       h. Plaintiff and the Class were reimbursed similar set amounts of automobile expenses

       per delivery; and,

       i. Plaintiff and the Class were paid at or near the North Carolina minimum wage before

       deducting unreimbursed business expenses.

   41. A class action is the appropriate method for the fair and efficient adjudication of this

controversy. Defendant has acted or refused to act on grounds generally applicable to the Class.




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   42. Plaintiff is an adequate representative of the Class because he is a member of the Class and

his interests do not conflict with the interest of the members of the Class he seeks to represent. The

interests of the members of the Class will be fairly and adequately protected by Plaintiff and the

undersigned counsel, who have extensive experience prosecuting complex wage and hour,

employment, and class action litigation.

   43. Maintenance of this action as a class action is superior to other available methods for fairly

and efficiently adjudicating the controversy as members of the Class have little interest in

individually controlling the prosecution of separate class actions, no other litigation is pending

over the same controversy, it is desirable to concentrate the litigation in this Court due to the

relatively small recoveries per member of the Class, and there are no material difficulties

impairing the management of a class action.

   44. It would be impracticable and undesirable for each member of the Class who suffered harm

to bring a separate action. In addition, the maintenance of separate actions would place a

substantial and unnecessary burden on the courts and could result in inconsistent adjudications,

while a single class action can determine, with judicial economy, the rights of all Class members.

                 Count I: Violation of the Fair Labor Standards Act of 1938

   45. Plaintiff reasserts and re-alleges the allegations set forth above.

   46. The FLSA regulates, among other things, the payment of minimum wage by employers

whose employees are engaged in interstate commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. §206(a).

   47. Defendant is subject to the FLSA’s minimum wage requirements because it is an enterprise

engaged in interstate commerce, and its employees are engaged in commerce.




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    48. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers have

been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201,

et seq.

    49. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

    50. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been entitled

to be compensated at a rate of at least $7.25 per hour since July 24, 2009.

    51. As alleged herein, Defendant has reimbursed delivery drivers less than the reasonably

approximate amount of its automobile expenses to such an extent that it diminishes these

employees’ wages beneath the federal minimum wage.

    52. Defendant knew or should have known that its pay and reimbursement policies, practices

and methodology result in failure to compensate delivery drivers at the federal minimum wage.

    53. Defendant, pursuant to its policy and practice, violated the FLSA by refusing and failing

to pay federal minimum wage to Plaintiff and other similarly situated employees.

    54. Plaintiff and all similarly situated delivery drivers are victims of a uniform and employer-

based compensation and reimbursement policy. This uniform policy, in violation of the FLSA, has

been applied, and continues to be applied, to all delivery driver employees in Defendant’s stores.

    55. Plaintiff and all similarly situated employees are entitled to damages equal to the minimum

wage minus actual wages received after deducting reasonably approximated automobile expenses

within three years from the date each Plaintiff joins this case, plus periods of equitable tolling,

because Defendant acted willfully and knew, or showed reckless disregard for, whether its conduct

was unlawful.




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   56. Defendant has acted neither in good faith nor with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and other similarly

situated employees are entitled to recover an award of liquidated damages in an amount equal to

the amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively, should the Court

find Defendant is not liable for liquidated damages, Plaintiff and all similarly situated employees

are entitled to an award of prejudgment interest at the applicable legal rate.

   57. As a result of the aforesaid willful violations of the FLSA’s minimum wage provisions,

minimum wage compensation has been unlawfully withheld by Defendant from Plaintiff and all

similarly situated employees. Accordingly, Defendant is liable under 29 U.S.C. § 216(b), together

with an additional amount as liquidated damages, pre-judgment and post-judgment interest,

reasonable attorneys’ fees, and costs of this action.

               Count II: Violation of the North Carolina Wage and Hour Act

   58. Plaintiff reasserts and re-alleges the allegations set forth above.

   59. Pursuant to the NCWHA, N.C. Gen. Stat. § 95-25.6, Defendant was required to pay

Plaintiff and the Putative Plaintiffs all wages, when due, for all hours of work at hourly rates which

exceeded the minimum wage rate under the FLSA on their regular pay date.

   60. Defendant was required to provide employees with advanced notice for wage deductions

permissible by and in compliance with the NCWHA.

   61. Defendant failed to pay Plaintiff and the Putative Plaintiffs reimbursements for travel

expenses “as other amounts promised” under the NCWHA and thus failed to comply with this

statute and its accompanying administrative code.

   62. The foregoing conduct, as alleged, constitutes willful violations of the NCWHA, N.C. Gen.

State. §§ 95-25.6, 95-25.7, 95-25.8, and 95-25.13.




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    63. As set forth above, the Plaintiff and the Putative Plaintiffs have sustained losses and lost

compensation as a proximate result of Defendant’s violations. Accordingly, Plaintiff on behalf of

himself and the Putative Plaintiffs, seek damages in the amount of their unpaid earned

compensation, liquidated damages, plus interest at the legal rate set forth in N.C. Gen. Stat. § 24-

1 from the date each amount came due as provided by the NCWHA, N.C. Gen. Stat. § 95-25.22(a)

and (al).

    64. Plaintiff, on behalf of himself and the Putative Plaintiffs, seek recovery of his attorneys’

fees as provided by the NCWHA, N.C. Gen. Stat. § 95-25.22(d).

                                    PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively pray that this Honorable

Court:

         1. Issue an Order certifying this action as a collective action under the FLSA and

designate the above Plaintiff as representative of all those similarly situated under the FLSA

collective action;

         2. Issue an Order certifying this action as a class action under the NCWHA and designate

the Plaintiff as representative on behalf of all those similarly situated of the NCWHA classes;

         3. Award Plaintiff and the Putative Plaintiffs actual damages for unpaid wages and

liquidated damages equal in amount to the unpaid compensation found due to Plaintiff and the

class as provided by the NCWHA, N.C. Gen. Stat. § 95-25.22(al) and pursuant to the FLSA, U.S.C.

§ 216(b);

         4. Award Plaintiff and the Putative Plaintiffs pre- and post-judgment interest at the

statutory rate as provided by the NCWHA, N.C. Gen. Stat. § 95-25.22(a) and pursuant to the

FLSA, U.S.C. § 216(b);




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       5. Award Plaintiff and the Putative Plaintiffs attorneys’ fees, costs, and disbursements as

provided by the NCWHA, N.C. Gen. Stat. § 95-25.22(d) and pursuant to the FLSA, 29 U.S.C. §

216(b); and

       6. Award Plaintiff and the Putative Plaintiffs further legal and equitable relief as this Court

deems necessary, just, and proper.

                                      Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.

                                               Respectfully submitted,

                                               /s/ Jacob J. Modla
                                               Jacob J. Modla (Bar No: 17534)
                                               The Law Offices of Jason E. Taylor P.C.
                                               454 S Anderson Rd., Suite 303
                                               Rock Hill, SC 29730
                                               Telephone: 803-328-0898
                                               jmodla@jasonetaylor.com

                                               *J. FORESTER
                                               Texas Bar No. 24087532
                                               FORESTER HAYNIE, PLLC
                                               400 N. St. Paul Street, Suite 700
                                               Dallas, Texas 75201
                                               (214) 210-2100 phone
                                               (214) 346-5909
                                               jay@foresterhaynie.com
                                               *pro hac vice application forthcoming

                                               ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE

       This is the Original Complaint. Service of this Complaint will be made on Defendant with

summons to be issued by the clerk according to the Federal Rules of Civil Procedure.


                                                         /s/ Jacob J. Modla
                                                         Jacob J. Modla



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